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         Exhibit 28
3/22/24, 12:07 PM   Case 1:21-cv-02131-CJN-MAU Document   82-7 Filed
                                                   nimbus screenshot       03/22/24 Page 2 of 2
                                                                     app print
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                          I have ,evidence in my file of Serbian foreign nationals
                     entering our election system while the vores were being counted,
                     and prior to certification. The election vendor, Dominion, hired
                     these Serbian ,employ,ees and disclosed in emails that they .ar,e not
                     able to provide backgrounds on these individuals due to law in
                     SeJbia. It has only been a mere 25 years sitnce conflict involving
                     Serbia. Thei:efore, the Uni.led States has allowed.a scenario where
                     potentiaJty Serbian military criminals are running our elections
                     and remotely entering our election equipment.
                            I am investigating the role that som individuals inside the
                     United States have play,ed in OOl!lSpiring with these foreign
                     naf onals, and who have even direded and instructed them to
                     access and interfer,e with electronic voting machine-s and
                     electronic voting systems during past elections, including the
                     - -ov,ember 2020 election. Multiple false ass-urances from state and
                     fodera] agencies, and private companm s thait our foctions were
                     secure and not ,compromised through remote network access or
                     otherwise. Moreover~ I have ,evidence that .S. Dominion and i~
                     affiliates (Dominion) instructed. its employees to alter or
                     otherwise falsify the integrity of the software and hardware in its
                     voting machines and systems to attain certification by the
                     Election Assistance Commission (EAC)> even when they knew
                     that the systems could not be properly verified and certified.
                     Additionally, I have ,evidence that the voting mac'bines and
                     systems are vulnerable to alteration and manipulation, .i.e.,
                     interferenceJ by the use of thumb drive and external devices that



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